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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                              CASE NO. 1:04-cr-00006-MP -AK

DAVID LARRY JONES,

      Defendant.
_____________________________/
                                             ORDER

       This matter is before the Court on Doc. 831, Motion for Correction of Clerical Error and

Clarification of Sentence, filed by defendant David Larry Jones. In the motion, defendant moves

the Court to modify the judgment in his case to state that it was the Court’s intention that his

federal sentence be concurrent with any subsequently imposed state sentence. He requests this

so that he can later ask the Federal Bureau of Prisons to designate the state facility as the place of

imprisonment for his federal sentence, nunc pro tunc to the date the federal sentence was

imposed. See 18 U.S.C. § 3261(b); Barden v. Keohane, 921 F.2d 476 (3d Cir. 1990). However,

because the crimes for which Defendant was sentenced in state court are serious and separate

offenses from the federal crime, the undersigned objects to the sentences running concurrently

and intends that the federal sentence run consecutively to the state sentences. The motion at

Doc. 831 is denied.

       DONE AND ORDERED this 10th day of May, 2011


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
